EXHIBIT 7
Prepare. Protect. Prevail.

                                                                                  THE
                                                                                  HARTFORD
                                                                                  Business Insurance
                                                                                  Employee Benefits
                                                                                  Auto
                                                                                  Home




August 19, 2020


     Re:         Insured:               DUSTEX HOLDINGS, LLC
                 Policy Number:        52 XS ON1063
                 Policy Term:          06/30/2017 – 06/30/2018
                 Writing Company:      TWIN CITY FIRE INSURANCE COMPANY

           This will verify that, to the best of the undersigned's knowledge, the attached is a
           complete and accurate representation of insurance policy referenced above. Documents
           and/or information produced herewith are kept and maintained in the ordinary course of
           business.




Kyona Lawrence
Operations Support Specialist
Clinton Business Center
Hartford Office Location




                                                                               301 Woods Park Dr.
                                                                                Clinton, NY 13323
                                                                           Toll Free: 888-525-2652
                                                                                Fax: 866-809-1178




                                                                                     Exhibit 7
                                                                                  Page 1 of 46
                                                                                       AB
POLICYHOLDER NOTICE - WASHINGTON

Date: 04/25/17

Policy Number: 52 XS        ON1063

Renewal Date: 06/30/17

Your Hartford Agent: USI KIBBLE & PRENTICE                                         52/810246



    DUSTEX HOLDINGS, LLC LUNDBERG LLC

    60 CHASTAIN CENTER BLVD NW STE 60
    KENNESAW                         GA   30144


Dear Valued Hartford Insured,

Your current policy provided by The Hartford will expire shortly. The purpose of this notice is to advise you of certain
changes to your policy upon renewal.

A. Policy Premium
   The new premium for your policy for the upcoming term is indicated below. This premium amount is based on
   current information known to us and may be subject to change based on any additional information we may
   receive from you or your Hartford agent or broker. More information on your premium determination can be
   obtained from your agent or broker, or from The Hartford.

    Renewal Premium = $
    Amount of Increase = $

   The reason(s) for the increase in premium is due to one or more of the following:
    1. A change in rates or the method of calculating premium.
    2. A change in your exposures, loss experience, or other risk characteristics.

B. Coverage Changes (if applicable)
   Your policy for the upcoming term will include certain reductions or additional restrictions in coverage, as
   indicated by an (x) below. If your state requires a notice of nonrenewal as a result of the indicated change(s), this
   is our notice to you in compliance with the applicable law.

    ( ) Increase in Deductible to:


    ( ) Reduction in Limits to:


    ( ) Reductions in Coverage:


    ( x) Other Changes or Restrictions in Coverage:
        Possible changes to terms, conditions &
        premium (TO BE DETERMINED).



    The coverage change is due to the following indicated reason(s):
    ( x) Your exposures, loss experience, or other risk characteristics indicate a need for the change.
    ( x) A change in our rules, forms or underwriting guidelines for your type of policy.




Form IH 70 50 12 10                                                                        Page 1
                                                                                                    Exhibit 7
                                                                                                 Page 2 of 46
    Further information regarding the reason for the coverage change(s) is available from the company or
    your agent or broker. You may receive other notices of coverage changes for the upcoming policy term
    under separate cover. Those other changes will apply in addition to the changes described above.

This is not a bill. You will receive a separate bill for all or part of the premium due for your renewal policy. If
you do not pay the amount shown by the due date as stated in the bill, your insurance coverage will expire or
be cancelled for non-payment of premium. If you have any questions about your policy or about your overall
insurance needs, please contact your Hartford agent or broker.




Form IH 70 50 12 10                                                                          Page 2
                                                                                                  Exhibit 7
                                                                                               Page 3 of 46
EXCESS LIABILITY
INSURANCE POLICY


  READ YOUR POLICY, DECLARATIONS PAGE, AND ENDORSEMENTS CAREFULLY



The Quick Reference on the next page has been designed to help you easily find the information you are
looking for regarding the location of the Declarations Page, the policy and its various provisions, and any
endorsements forming a part of the policy at issue.




Form XN 00 06 15 (ED. 06/05)                                                                     Page i of ii

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                                          QUICK REFERENCE


DECLARATIONS PAGE

  Your Name and Mailing Address
  Policy Period
  Description of Business and Location              See Adjacent Page
  Coverages and Limits of Liability
  Premium
  Agent or Broker Representing Hartford

                                                                                   Beginning on Page

INTRODUCTION
                                                                                            1
SECTION I - COVERAGES                                                                       1
   Insuring Agreement                                                                       1
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                 PART OF THE POLICY AT ISSUE.




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                                             (c) 2005, The Hartford
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                     IMPORTANT STATE INFORMATION
                                      FRAUD STATEMENT
          (Applicable in all jurisdictions, except for separate jurisdiction statements below)
ANY PERSON WHO KNOWINGLY AND WITH INTENT TO DEFRAUD ANY INSURANCE COMPANY OR
ANOTHER PERSON FILES AN APPLICATION FOR INSURANCE CONTAINING ANY MATERIALLY FALSE
INFORMATION, OR CONCEALS FOR THE PURPOSE OF MISLEADING INFORMATION CONCERNING
ANY FACT MATERIAL THERETO, COMMITS A FRAUDULENT INSURANCE ACT, WHICH IS A CRIME
AND SUBJECT THE PERSON TO CRIMINAL AND (NEW YORK: SUBSTANTIAL) CIVIL PENALTIES. IN
THE DISTRICT OF COLUMBIA, LOUISIANA, MAINE AND VIRGINIA, INSURANCE BENEFITS MAY ALSO
BE DENIED.

                 ANY PERSON WHO KNOWINGLY PRESENTS A FALSE OR FRAUDULENT CLAIM FOR
ALABAMA
                 PAYMENT OF A LOSS OR BENEFIT OR WHO KNOWINGLY PRESENTS FALSE
                 INFORMATION IN AN APPLICATION FOR INSURANCE IS GUILTY OF A CRIME AND
                 MAY BE SUBJECT TO RESTITUTION, FINES OR CONFINEMENT IN PRISON, OR ANY
                 COMBINATION THEREOF.
COLORADO         IT IS UNLAWFUL TO KNOWINGLY PROVIDE FALSE, INCOMPLETE, OR MISLEADING
                 FACTS OR INFORMATION TO AN INSURANCE COMPANY FOR THE PURPOSE OF
                 DEFRAUDING OR ATTEMPTING TO DEFRAUD THE COMPANY. PENALTIES MAY
                 INCLUDE IMPRISONMENT, FINES, DENIAL OF INSURANCE, AND CIVIL DAMAGES.
                 ANY INSURANCE COMPANY OR AGENT OF AN INSURANCE COMPANY WHO
                 KNOWINGLY PROVIDES FALSE, INCOMPLETE, OR MISLEADING FACTS OR
                 INFORMATION TO A POLICY HOLDER OR CLAIMANT FOR THE PURPOSE OF
                 DEFRAUDING OR ATTEMPTING TO DEFRAUD THE POLICY HOLDER OR CLAIMANT
                 WITH REGARD TO A SETTLEMENT OR AWARD PAYABLE FROM INSURANCE
                 PROCEEDS SHALL BE REPORTED TO THE COLORADO DIVISION OF INSURANCE
                 WITHIN THE DEPARTMENT OF REGULATORY AGENCIES.
HAWAII           FOR YOUR PROTECTION, HAWAII LAW REQUIRES YOU TO BE INFORMED THAT
                 PRESENTING A FRAUDULENT CLAIM FOR PAYMENT OF A LOSS OR BENEFIT IS A
                 CRIME PUNISHABLE BY FINES OR IMPRISONMENT, OR BOTH.
                 ANY PERSON WHO COMMITS A FRAUDULENT INSURANCE ACT IS GUILTY OF A
KANSAS
                 CRIME AND MAY BE SUBJECT TO RESTITUTION, FINES AND CONFINEMENT IN
                 PRISON. A FRAUDULENT INSURANCE ACT MEANS AN ACT COMMITTED BY ANY
                 PERSON WHO, KNOWINGLY AND WITH INTENT TO DEFRAUD, PRESENTS, CAUSES
                 TO BE PRESENTED OR PREPARES WITH KNOWLEDGE OR BELIEF THAT IT WILL
                 BE PRESENTED TO OR BY AN INSURER, PURPORTED INSURER OR INSURANCE
                 AGENT OR BROKER, ANY WRITTEN STATEMENT AS PART OF, OR IN SUPPORT OF,
                 AN APPLICATION FOR INSURANCE, OF THE RATING OF AN INSURANCE POLICY,
                 OR A CLAIM FOR PAYMENT OR OTHER BENEFIT UNDER AN INSURANCE POLICY,
                 WHICH SUCH PERSON KNOWS TO CONTAIN MATERIALLY FALSE INFORMATION
                 CONCERNING ANY MATERIAL FACT THERETO; OR CONCEALS, FOR THE
                 PURPOSE OF MISLEADING, INFORMATION CONCERNING ANY FACT MATERIAL
                 THERETO.
MAINE            WE DO NOT PROVIDE COVERAGE TO ONE OR MORE INSUREDS ("INSUREDS")
                 WHO, AT ANY TIME:
                 1. INTENTIONALLY CONCEALED OR MISREPRESENTED A MATERIAL FACT;
                 2. ENGAGED IN FRAUDULENT CONDUCT; OR
                 3. MADE A FALSE STATEMENT;
                 RELATING TO THIS INSURANCE.


Form GN 99 48 17 (Ed. 2/13)                                                                            Page 1 of 2
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                                                                                                Exhibit 7
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OHIO             ANY PERSON WHO, WITH INTENT TO DEFRAUD OR KNOWING THAT HE/SHE IS
                 FACILITATING A FRAUD AGAINST AN INSURER, SUBMITS AND APPLICATION OR
                 FILES A CLAIM CONTAINING A FALSE OR DECEPTIVE STATEMENT IS GUILTY OF
                 INSURANCE FRAUD.
OKLAHOMA         ANY PERSON WHO KNOWINGLY, AND WITH INTENT TO INJURE, DEFRAUD OR
                 DECEIVE ANY INSURER, MAKES ANY CLAIM FOR THE PROCEEDS OF AN
                 INSURANCE POLICY CONTAINING ANY FALSE, INCOMPLETE OR MISLEADING
                 INFORMATION IS GUILTY OF A FELONY.




Form GN 99 48 17 (Ed. 2/13)                                                  Page 2 of 2

                                                                         Exhibit 7
                                                                      Page 7 of 46
EXCESS LIABILITY INSURANCE POLICY
Insurer:
           One Hartford Plaza, Hartford, CT. 06155
DECLARATIONS                                                            POLICY NO.
                         Previous Policy No.

Items

1. Named Insured and Mailing Address
   The Named Insured is:            Individual
           Partnership              Joint Venture
           Corporation              Organization (Other than a
                                    Partnership or Joint Venture)
2. Policy Period
   12:01 a.m. Standard Time at the address of                  Inception Date                         Expiration Date
    the "first named insured" as stated herein.
Producer’s Name and Address                          Producer’s Code No.




3. Audit Period is the Policy Period unless otherwise herein stated:                    Semi-Annual      Quarterly       Monthly
                                                                                        Annual           Not subject to Audit
4. Deposit Premium                                       , which is              A Flat Charge Per Each Policy Period

                                                                                 Adjustable at the end of each Audit Period, Per
    Minimum Retained Audit Premium                                               Premium Computation Endorsement

    Minimum Retained Premium                                     , not subject to adjustment in the event of cancellation by you.
    Applicable State Surcharges:


5. Limits of Liability
    The Limits of Liability, subject to all the terms of this policy that apply, are:




6. Total Limits of Liability - All Underlying Insurance Policies
    See EXTENSION SCHEDULE forming a part of this policy for details.

7. Controlling Underlying Insurance Policy
    See EXTENSION SCHEDULE forming a part of this policy for details.

8. Business Description:

9. Form Numbers of Policy Provisions and Endorsements forming a part of this policy:
   SEE LISTING OF POLICY PROVISIONS AND ENDORSEMENTS FORMING A PART OF THE POLICY AT ISSUE.
   This policy will not be valid unless countersigned by our duly authorized representative.
                                                        Countersigned by
                                                        (Where required by law)        Authorized Representative

Form XN 00 03 15 (ED. 01/07)                                                                                    Page 1 of 1
                                                    (c) 2006, The Hartford
                                                                                                           Exhibit 7
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Policy Number:                                              Effective Date:

Named Insured and Address:




                    EXTENSION SCHEDULE OF UNDERLYING
                            INSURANCE POLICIES
                         (EXCESS LIABILITY POLICY)
 Insurer, Policy Number & Period          Type of Coverage            Underlying Limits - Controlling Underlying Ins.
                                   CONTROLLING UNDER-
                                   LYING INSURANCE
                                   POLICY *



                                   1) Expenses:

                                               Are in Addition to
                                               Limit

                                               Reduce Limit

                                               Are Self-Insured and
                                               In Addition to Limit

                                   2) Duty to defend all covered
                                     claims or suits, either in
                                     the "controlling underlying
                                     insurance policy," or in all
                                     other "underlying
                                     insurance?"

                                                Yes        No

                                    3) Form:

                                            OCCURRENCE
                                                                      See Item 6. of Declarations for Total Limits of
                                            CLAIMS-MADE;              Liability - All Underlying Insurance Policies,
                                            Retro Date:               and any additional Extension Schedule pages
                                                                      showing Underlying Layers Excess of Cont-
                                                                      rolling Underlying Insurance Policy.

 PLEASE REFER TO THE "MAINTENANCE OF UNDERLYING INSURANCE" CONDITION, AND DEFINITION
 OF "UNDERLYING INSURANCE" IN THIS POLICY.
 As used in this Schedule, "Expenses" refers to all reasonable expenses and costs (other than the amount of any
 settlement) incurred with respect to investigation, settlement or defense of claims or suits.
 *Except as otherwise provided by this policy, the insurance afforded herein shall follow all the terms, conditions,
  definitions and exclusions of the "controlling underlying insurance policy."


 Form XN 99 21 13 (ED. 01/95) Printed in U.S.A. (NS)                                              Page        of
                                           (c) 1995, The Hartford
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Policy Number:                                              Effective Date:

Named Insured and Address:




                    EXTENSION SCHEDULE OF UNDERLYING
                            INSURANCE POLICIES
                         (EXCESS LIABILITY POLICY)
 Insurer, Policy Number & Period          Type of Coverage            Underlying Limits - Controlling Underlying Ins.
                                   CONTROLLING UNDER-
                                   LYING INSURANCE
                                   POLICY *



                                   1) Expenses:

                                               Are in Addition to
                                               Limit

                                               Reduce Limit

                                               Are Self-Insured and
                                               In Addition to Limit

                                   2) Duty to defend all covered
                                     claims or suits, either in
                                     the "controlling underlying
                                     insurance policy," or in all
                                     other "underlying
                                     insurance?"

                                                Yes        No

                                    3) Form:

                                            OCCURRENCE
                                                                      See Item 6. of Declarations for Total Limits of
                                            CLAIMS-MADE;              Liability - All Underlying Insurance Policies,
                                            Retro Date:               and any additional Extension Schedule pages
                                                                      showing Underlying Layers Excess of Cont-
                                                                      rolling Underlying Insurance Policy.

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 *Except as otherwise provided by this policy, the insurance afforded herein shall follow all the terms, conditions,
  definitions and exclusions of the "controlling underlying insurance policy."


 Form XN 99 21 13 (ED. 01/95) Printed in U.S.A. (NS)                                              Page        of
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Policy Number:                                              Effective Date:

Named Insured and Address:




                    EXTENSION SCHEDULE OF UNDERLYING
                            INSURANCE POLICIES
                         (EXCESS LIABILITY POLICY)
 Insurer, Policy Number & Period          Type of Coverage            Underlying Limits - Controlling Underlying Ins.
                                   CONTROLLING UNDER-
                                   LYING INSURANCE
                                   POLICY *



                                   1) Expenses:

                                               Are in Addition to
                                               Limit

                                               Reduce Limit

                                               Are Self-Insured and
                                               In Addition to Limit

                                   2) Duty to defend all covered
                                     claims or suits, either in
                                     the "controlling underlying
                                     insurance policy," or in all
                                     other "underlying
                                     insurance?"

                                                Yes        No

                                    3) Form:

                                            OCCURRENCE
                                                                      See Item 6. of Declarations for Total Limits of
                                            CLAIMS-MADE;              Liability - All Underlying Insurance Policies,
                                            Retro Date:               and any additional Extension Schedule pages
                                                                      showing Underlying Layers Excess of Cont-
                                                                      rolling Underlying Insurance Policy.

 PLEASE REFER TO THE "MAINTENANCE OF UNDERLYING INSURANCE" CONDITION, AND DEFINITION
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 As used in this Schedule, "Expenses" refers to all reasonable expenses and costs (other than the amount of any
 settlement) incurred with respect to investigation, settlement or defense of claims or suits.
 *Except as otherwise provided by this policy, the insurance afforded herein shall follow all the terms, conditions,
  definitions and exclusions of the "controlling underlying insurance policy."


 Form XN 99 21 13 (ED. 01/95) Printed in U.S.A. (NS)                                              Page        of
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Policy Number:                                              Effective Date:

Named Insured and Address:




                    EXTENSION SCHEDULE OF UNDERLYING
                            INSURANCE POLICIES
                         (EXCESS LIABILITY POLICY)
 Insurer, Policy Number & Period          Type of Coverage            Underlying Limits - Controlling Underlying Ins.
                                   CONTROLLING UNDER-
                                   LYING INSURANCE
                                   POLICY *



                                   1) Expenses:

                                               Are in Addition to
                                               Limit

                                               Reduce Limit

                                               Are Self-Insured and
                                               In Addition to Limit

                                   2) Duty to defend all covered
                                     claims or suits, either in
                                     the "controlling underlying
                                     insurance policy," or in all
                                     other "underlying
                                     insurance?"

                                                Yes        No

                                    3) Form:

                                            OCCURRENCE
                                                                      See Item 6. of Declarations for Total Limits of
                                            CLAIMS-MADE;              Liability - All Underlying Insurance Policies,
                                            Retro Date:               and any additional Extension Schedule pages
                                                                      showing Underlying Layers Excess of Cont-
                                                                      rolling Underlying Insurance Policy.

 PLEASE REFER TO THE "MAINTENANCE OF UNDERLYING INSURANCE" CONDITION, AND DEFINITION
 OF "UNDERLYING INSURANCE" IN THIS POLICY.
 As used in this Schedule, "Expenses" refers to all reasonable expenses and costs (other than the amount of any
 settlement) incurred with respect to investigation, settlement or defense of claims or suits.
 *Except as otherwise provided by this policy, the insurance afforded herein shall follow all the terms, conditions,
  definitions and exclusions of the "controlling underlying insurance policy."


 Form XN 99 21 13 (ED. 01/95) Printed in U.S.A. (NS)                                              Page        of
                                           (c) 1995, The Hartford
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Policy Number:                                        Effective Date:

Named Insured and Address:




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


   LISTING OF POLICY PROVISIONS AND ENDORSEMENTS
        FORMING A PART OF THE POLICY AT ISSUE
  The following is a listing of policy provisions and endorsements by Form Number and Title that form a part of the
  policy at issue.



       FORM NUMBER                                        TITLE




Form GN 99 19 14 (ED. 04/95)     Printed in U.S.A. (NS)
                                                (c) 1995, The Hartford



                                                                                                   Exhibit 7
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Policy Number:                                        Effective Date:

Named Insured and Address:




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


   LISTING OF POLICY PROVISIONS AND ENDORSEMENTS
        FORMING A PART OF THE POLICY AT ISSUE
  The following is a listing of policy provisions and endorsements by Form Number and Title that form a part of the
  policy at issue.



       FORM NUMBER                                        TITLE




Form GN 99 19 14 (ED. 04/95)     Printed in U.S.A. (NS)
                                                (c) 1995, The Hartford



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                  EXCESS LIABILITY INSURANCE POLICY
                         POLICY PROVISIONS


Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and what is not covered.

Throughout this policy the words "you" and "your" refer to the Named Insured in the Declarations, and any other
person or organization qualifying as a Named Insured under this policy. The words "we", "us" and "our" refer to
the stock insurance company member of THE HARTFORD shown on the Declarations Page as the insurer.
The word "insured" means any person or organization qualifying as such under WHO IS AN INSURED
(SECTION II).
Other words and phrases that appear in quotation marks are defined in SECTION V (DEFINITIONS) of this policy.
In consideration of the payment of the premium when due, and:
a. In reliance upon the statements made in the Declarations; and
b. Subject to the Limits of Liability, Exclusions, Definitions, Conditions and all other terms of this policy; including
   those modified, replaced by or added by endorsements we issue forming a part of this policy,
we agree with you as follows:

SECTION I - COVERAGES
1. Insuring Agreement.                                                       defense of any insured, or investigation
                                                                             or settlement of any "claim" or "suit".
    a. We will pay on behalf of the insured those
       sums that the insured shall become legally                            However, if a "claim" or "suit", in our
       obligated to pay as damages which are:                                opinion, involves or is reasonably likely
                                                                             to involve payment of damages by us
        (1) Because of any injury or damage for                              under this policy, we shall, at our own
            which insurance is afforded by the                               expense, have the right but not the duty
            "controlling underlying insurance policy";                       to investigate and assign counsel in
            and                                                              addition to any defense counsel
        (2) Not excluded or modified by the                                  assigned by or on behalf of the insured
            Exclusions, Conditions, Definitions, or                          or its underlying insurers. Such
            any other terms of this policy;                                  additional counsel shall have the right to
        But only to the extent that such damages                             participate in the defense of any
        are in excess of the total limits of "underlying                     insured, or the investigation or
        insurance" that have been reduced or                                 settlement of any "claim" or "suit" on our
        exhausted solely by payment of that portion                          behalf.
        of judgments or settlements to which this                            If we avail ourselves of the foregoing
        policy applies.                                                      right(s), the insured, its underlying
    b. We may at our discretion investigate any                              insurers and we shall cooperate in such
       "occurrence" or "offense" in a. above, and                            investigation, defense, or settlement. In
       settle any "claim" or "suit" that may result.                         no event will we contribute to any costs
                                                                             or expenses incurred by any underlying
        But:                                                                 insurer;
        (1) We shall not be obligated to assume
            charge of, participate in, or pay for the




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EXCESS LIABILITY INSURANCE POLICY


        (2) Any right or opportunity we have           Any obligation of the insured under
            exercised to participate in the            a workers’ compensation, disability
            defense ends at our discretion,            benefits     or      unemployment
            but in all events ends when we             compensation law or any similar
            have used up the limit of liability        law.
            in the payment of judgments or        e. Employer’s Liability
            settlements to which this policy
            applies; and                             Any injury or damage to:
        (3) The amounts we will pay for                (1) An "employee" of the insured, in
            damages is limited as described                any state where, either prior to
            in  LIMITS     OF    LIABILITY                 or at any time during the "policy
            (SECTION III).                                 period", any insured or any
                                                           "employee" of any insured
            No obligation to pay "claim                    expressly or otherwise rejects,
            expenses" or any other liability               does not subscribe to, or has
            to pay sums or perform acts or                 not complied with the workers
            services is covered unless                     compensation, unemployment
            explicitly provided for under the              compensation, disability benefits
            SUPPLEMENTARY               PAY-               law or any similar law of that
            MENTS section of this policy.                  state;
   c.   This policy applies to injury or               (2) Any "leased workers"; or
        damage in 1.a. only if such injury or
        damage:                                        (3) The spouse, child, parent,
                                                           brother or sister of that
        (1) (a) Is      caused  by   an                    "employee" or "leased worker"
                "occurrence" that takes                    as a consequence of (1) or (2)
                place in the "coverage                     above.
                territory"; and
                                                       Exclusions (1), (2) and (3) apply:
            (b) Occurs during the "policy
                period"; or                            (a) Whether the insured may be
                                                           liable as an employer or in any
        (2) (a) Is caused by an "offense"                  other capacity;
                committed in the "coverage
                territory"; and                        (b) To any obligation to share
                                                           damages      with   or    repay
          (b) The "offense" is committed                   someone else who must pay
              during the "policy period".                  damages because of the injury;
2. Exclusions.                                             and
   This policy does not apply to:                      (c) Whether or not liability for any of
   a. Remedies Other Than Damages                          the above is assumed by the
                                                           insured under any contract or
        Fines, penalties, restitutionary or                agreement, even if under an
        equitable relief.                                  "insured contract".
   b. Uninsured         or      Underinsured      f.   Pollution
      Motorists
                                                       (1) Any injury or damage arising out
        Any "claim" for Uninsured or                       of the actual, alleged or
        Underinsured Motorists Coverage.                   threatened discharge, dispersal,
   c.   No-Fault                                           seepage, migration, release or
        Any "claim" for Personal Injury                    escape of "pollutants":
        Protection, Property Protection, or                (a) At or from any premises,
        similar   no-fault  coverage     by                    site or location which is or
        whatever name called.                                  was at any time owned or
   d. Workers Compensation and Similar                         occupied by, or rented or
      Law                                                      loaned to, any insured.
                                                               However, this subparagraph
                                                               (a) does not apply to injury



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                                                                                  Exhibit 7
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EXCESS LIABILITY INSURANCE POLICY


               or damage arising out of                         "pollutants" are contained
               heat, smoke or fumes from                        are moved from the covered
               a "hostile fire";                                "auto" to the place where
           (b) At or from any premises, site                    they are finally delivered,
               or location which is or was at                   disposed of or abandoned
               any time used by or for any                      by any insured.
               insured or others for the           (2) Any loss, cost or expense arising
               handling, storage, disposal,            out of any:
               processing or treatment of              (a) Request, demand, order or
               waste;                                      statutory       or       regulatory
           (c) Which are or were at any                    requirement that any insured or
               time transported, handled,                  others test for, monitor, clean
               stored, treated, disposed of,               up, remove, contain, treat,
               or processed as waste by or                 detoxify or neutralize, or in any
               for any insured or any                      way respond to, or assess the
               person or organization for                  effects of "pollutants"; or
               whom you may be legally                 (b) Claim or suit by or on behalf of a
               responsible;                                governmental       authority   for
           (d) At or from any premises,                    damages because of testing for,
               site or location on which any               monitoring,      cleaning      up,
               insured or any contractors                  removing, containing, treating,
               or subcontractors working                   detoxifying or neutralizing, or in
               directly or indirectly on any               any way responding to, or
               insured’s       behalf    are               assessing     the    effects    of
               performing operations;                      "pollutants".
           (e) To the extent that any such             However, this paragraph (2) does
               injury or damage is included            not apply to liability for damages
               in the "products-completed              because of "property damage" that
               operations hazard";                     the insured would have in the
           (f) That are, or that are                   absence of such request, demand,
               contained in any property               order or statutory or regulatory
               that is:                                requirement, or such claim or suit by
                                                       or on behalf of a governmental
               (i) Being transported or                authority.
                   towed by, or handled for
                   movement into, onto or          Coverage afforded by reason of any
                   from the covered "auto";        exceptions set forth in paragraphs (1)
                                                   and (2) applies only to the extent:
               (ii) Otherwise in the course
                    of   transit   by   any        (i) Of the scope of coverage provided
                    insured; or                        by the "underlying insurance" but in
                                                       no event shall coverage be broader
               (iii) Being stored, disposed            than the scope of coverage provided
                     of, treated or processed          by this policy and any endorsements
                     in or upon the covered            attached thereto; and
                     "auto";
                                                   (ii) That such coverage provided by the
           (g) Before the "pollutants" or               "underlying insurance" is maintained
               any property in which the                having limits as set forth in the
               "pollutants" are contained               Extension Schedule of Underlying
               are moved from the place                 Insurance.
               where they are accepted by
               any insured for movement         g. Aircraft Products
               into or onto the covered            Any injury or damage included within the
               "auto"; or                          "products-completed operations hazard"
           (h) After the "pollutants" or any
               property in which the


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       arising    out     of    the   design,          includes the mere presence of
       manufacture, sale, handling or                  asbestos in any form.
       distribution of "aircraft products", or    i.   Employee     Retirement        Income
       reliance upon any representation or             Security Act
       warranty made with respect thereto,
       or to any liability arising out of the          Any liability arising out of intentional
       "grounding" of any "aircraft".                  or unintentional violation of any
                                                       provision      of    the      Employee
       It is also agreed that this policy shall        Retirement Income Security Act of
       not apply to any liability assumed by           1974, Public Law 93-406 (commonly
       the insured under any contract or               referred to as the revision act of
       agreement if such liability arises out          1974), or any amendments to them.
       of "aircraft products" designed,
       manufactured, sold, handled or             j.   Employment Related Practices
       distributed by the insured or by                Any injury or damage to:
       others trading under his or her                 (1) A person arising out of any
       name.                                               “employment related practices”;
   h. Asbestos                                             or
       Any injury, damages, loss, costs or             (2) The spouse, child, parent,
       expenses, including but not limited                 brother or sister of that person
       to "bodily injury", "property damage"               as a consequence of any injury
       or "personal and advertising injury"                or damage to that person at
       arising out of, or relating to, in whole            whom any of “employment-
       or in part, the "asbestos hazard"                   related practices” are directed.
       that:                                           This exclusion applies:
       (1) May be awarded or incurred by               (1) Whether the insured may be
           reason of any "claim" or "suit"                 held liable as an employer or in
           alleging actual or threatened                   any other capacity; and
           injury or damage of any nature
                                                       (2) To any obligation to share
           or kind to persons or property
           which would not have occurred                   damages    with   or     repay
           in whole or in part but for the                 someone else who must pay
                                                           damages because of the injury.
           "asbestos hazard";
                                                  k.   Contractual Liability
       (2) Arise out of any request,
           demand, order or statutory or               Any injury or damage for which the
           regulatory requirement that any             insured is obligated to pay damages
           insured or others test for,                 by reason of the assumption of
           monitor, clean up, remove,                  liability in a contract or agreement.
           encapsulate, contain, treat,                This exclusion does not apply to
           detoxify or neutralize or in any            liability for damages:
           way respond to or assess the
                                                       (1) Assumed in a contract or
           effects of an "asbestos hazard";
                                                           agreement that is an "insured
           or
                                                           contract", provided the "bodily
       (3) Arise out of any "claim" or "suit"              injury" or "property damage"
           for damages because of testing                  occurs subsequent to the
           for, monitoring, cleaning up,                   execution of the contract or
           removing,          encapsulating,               agreement; or
           containing, treating, detoxifying
                                                       (2) That the insured would have in
           or neutralizing or in any way
                                                           the absence of the contract or
           responding to or assessing the
                                                           agreement.
           effects of an "asbestos hazard".
       As used in this exclusion, "asbestos
       hazard" means an exposure or
       threat of exposure to the actual or
       alleged properties of asbestos and


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   l.   Prior Knowledge                                    (2) The CAN-SPAM Act of 2003,
        Any injury or damage if such injury                    including any amendment of or
        or damage is a continuation of, or                     addition to such law; or
        arises out of injury or damage that                (3) Any statute, ordinance or
        commenced prior to the inception                       regulation, other than the TCPA
        date of the policy and if any insured                  or CAN-SPAM Act of 2003, that
        knew, or should have known of such                     prohibits or limits the sending,
        injury or damage.                                      transmitting, communicating or
   m. Electronic Data                                          distribution of material or
                                                               information.
        Damages arising out of the loss of,
        loss of use of, damage to, corruption          p. War
        of, inability to access, or inability to           Any injury or damage, however
        manipulate electronic data.                        caused, arising directly or indirectly
        As used in this exclusion, electronic              out of:
        data means information, facts or                   (1) War, including undeclared or
        programs stored as or on, created                      civil war;
        or used on, or transmitted to or from              (2) Warlike action by a military
        computer       software,     including                 force,   including   action   in
        systems and applications software,                     hindering or defending against
        hard or floppy disks, CD-ROMS,                         an actual or expected attack, by
        tapes, drives, cells, data processing                  any government, sovereign or
        devices or any other media which                       other authority using military
        are     used    with     electronically                personnel or other agents; or
        controlled equipment.
                                                        (3) Insurrection, rebellion, revolution,
   n. Limited Underlying Coverage                           usurped power or action taken by
        Any injury, damage, loss, cost or                   governmental       authority      in
        expense, including but not limited to               hindering or defending against
        “bodily injury”, “property damage” or               any of these.
        “personal and advertising injury” for      SUPPLEMENTARY PAYMENTS
        which:
                                                   Only to the extent not covered by
        (1) An “underlying insurance” policy
                                                   "underlying insurance", we will pay the
            or policies specifically provides
                                                   following:
            coverage; but
        (2) Because of a provision within          1. All "claim expenses" we incur.
            the “underlying insurance” such        2. The following in the ratio that our liability
            coverage is provided at a limit or        for the judgment rendered or settlement
            limits of insurance that are less         made bears to the whole amount of
            than the limit(s) for the                 such judgment or settlement:
            “underlying insurance” policy or           a. "Claim expenses" incurred by the
            policies shown on the Schedule                insured with our written consent.
            of      Underlying     Insurance              However, if a "claim" or "suit" is
            Policies.                                     settled or results in a judgment for a
   o. Distribution Of Material In Violation               sum within the limits of the
      Of Statutes                                         "underlying insurance", none of the
        Any injury or damage arising directly             "claim expenses" incurred by the
        or indirectly out of any action or                insured are payable by us;
        omission that violates or is alleged           b. Up to $1,000 for the cost of bail
        to violate:                                       bonds     required     because     of
        (1) The     Telephone    Consumer                 accidents or traffic law violations
            Protection Act (TCPA), including              arising out of the use of any vehicle
            any amendment of or addition to               to which this policy applies. We do
            such law;                                     not have to furnish these bonds;



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    c.   The cost of bonds to release                  c.   This provision does not apply to
         attachments, but only for bond                     injury or damage arising out of an
         amounts within the applicable limit                "offense" committed before you
         of liability. We do not have to                    acquired or formed the organization.
         furnish these bonds;                          This paragraph 2. applies only if such
    d. An insured’s actual loss of earnings,           persons or organizations are insured
       up to $250 per day, resulting from              under    the    "controlling     underlying
       time off from work because of our               insurance policy" and any "underlying
       request for assistance in the                   insurance" with limits of liability at least
       investigation or defense of a "claim"           as high as set forth in the Extension
       or "suit"; and                                  Schedule of Underlying Insurance,
    e. All costs taxed against the insured             subject to all the limitations upon
       in the "suit".                                  coverage and all other policy terms and
                                                       conditions of the "controlling underlying
3. The interest on that portion of a                   insurance policy" and this policy.
   judgment or settlement in excess of the
   amount of the "underlying insurance"               No person or organization is an insured
   that accrues after entry of the judgment           with respect to any newly acquired
   and before we have paid, offered to pay            organization that has not been reported
   or deposited in court the part of the              within the time period in the provisions
   judgment that is within the applicable             set forth in paragraph 2.a. above, and
   limit of liability.                                that is not shown as a Named Insured in
                                                      the Declarations.
   Any amounts paid under 1. through 3.
   above will not reduce the limits of             SECTION III-LIMITS OF LIABILITY
   liability.                                      1. Subject to item 1.a. of the Insuring
SECTION II-WHO IS AN INSURED                          Agreement, the Limits of Liability shown
                                                      in the Declarations and the rules below
The following is an insured:                          fix the most we will pay regardless of the
1. Any person or organization who is an               number of:
   insured under the "controlling underlying           a. Insureds;
   insurance policy" with limits of liability at
   least as high as set forth in the                   b. "Claims" made or "suits" brought;
   Extension Schedule of Underlying                    c.   Persons or organizations making
   Insurance, subject to all the limitations                "claims" or bringing "suits";
   upon coverage and all other policy                  d. Coverages under which damages
   terms and conditions of such "controlling              are covered under this policy; or
   underlying insurance policy" and this
   policy.                                             e. "Autos", "aircraft" or watercraft to
                                                          which this policy applies.
2. Any organization you newly acquire or
   form, other than a partnership, joint           2. If the Limits of Liability stated in Item 5.
   venture or limited liability company               of the Declarations are on a Quota
   which is a legally incorporated entity of          Share Basis, our Limit of Liability shall
   which you own a financial interest of              be the quota share percentage so stated
   more than 50% of the voting stock, will            of all damages to which this policy
   qualify as a Named Insured. However:               applies in excess of "underlying
                                                      insurance", up to the limits so stated.
    a. Coverage under this provision is
       afforded only until the 90th day after          If the Limits of Liability stated in Item 5.
       you acquire or form the organization            of the Declarations are on a Full Limits
       or the end of the "policy period",              Basis, our Limit of Liability shall be the
       whichever is earlier;                           amount of all damages to which this
                                                       policy applies in excess of "underlying
    b. The provision does not apply to any             insurance", up to the limits so stated.
       injury or damage that occurred
       before you acquired or formed the           3. The Aggregate Limit is the most we will
       organization; and                              pay for the sum of all damages to which
                                                      this policy applies.



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4. Subject to 2. and 3. above, the Each                        interest incidental to such appeal;
   Occurrence Limit or the Personal and                        and
   Advertising Injury Limit set forth in the              c.Any increase in damages over the
   Declarations is the most we will pay for                 amount the matter could have been
   any one "occurrence" or for the sum of                   settled for after the verdict was
   all damages because of all "personal                     entered and before the appeal was
   and advertising injury" sustained by any                 filed.
   one person or organization respectively.
                                                      2. Bankruptcy.
5. If you have agreed in a written contract
   or written agreement that another                     Bankruptcy or insolvency of the insured
   person or organization be added as an                 or of an insured’s estate will not relieve
   additional insured on your policy, the                us of our obligations under this policy.
   most we will pay on behalf of such                 3. Cancellation.
   additional insured is the lesser of:                   a. The "first named insured" may
    a. The limits of liability specified in the              cancel this policy by:
       written    contract       or     written                (1) Mailing or delivering to       us
       agreement; or                                               advance written notice         of
    b. The Limits of Liability shown in the                        cancellation; or
       Declarations.                                           (2) Surrendering the policy to us or
The Limits of Liability of this policy apply                       to any of our authorized agents.
separately to each "policy period". If the                b. We may cancel this policy by
"policy period" is extended after issuance for               mailing or delivering to the "first
an additional period, such additional period                 named insured" written notice of
will be deemed part of the "policy period" for               cancellation at least:
purposes of determining the Limits of
                                                               (1) 10 days before the effective
Liability.
                                                                   date of cancellation, if we cancel
SECTION IV-CONDITIONS                                              for   non-payment         of  any
1. Appeals.                                                        premium when due; or
    In the event the insured or the                            (2) 60 days before the effective
    underlying insurer elects not to appeal a                      date of cancellation, if we cancel
    judgment in excess of the "underlying                          for any other reason.
    insurance", we may, at our option, make                    The 10 days or 60 days in (1) and
    such appeal at our cost and expense,                       (2) above are replaced by longer
    although we will in no event be obligated                  minimum       number     of    days
    to post or obtain any appeal bond (but                     requirements, if any, of the state
    we will, under those circumstances, pay                    shown as the "first named insured’s"
    for the cost of such a bond obtained by                    mailing address shown in the
    the insured). We shall be liable in                        Declarations.
    addition to the limit of liability, for taxable
                                                          c.   We will mail or deliver our notice to
    costs and disbursements and interest
                                                               the last mailing address known to us
    incidental thereto.
                                                               of the "first named insured".
    If a judgment is rendered in excess of
    the limits of the "underlying insurance"              d. Notice of cancellation by us will
                                                             state the effective date of the
    and we offer to pay our full share of
                                                             cancellation. The "policy period" will
    such judgment, but you or your
                                                             end on that date.
    underlying insurers elect to appeal it,
    you, your underlying insurers or both                 e. If this policy is cancelled, we will
    together will bear:                                      send the "first named insured" any
                                                             premium refund due. If we cancel,
    a. The cost of obtaining any appeal
                                                             the refund will be pro-rata. If the
       bond;
                                                             Named Insured cancels, we shall
    b. All "claim expenses", taxable costs,                  compute the return premium at 90%
       disbursements     and     additional                  of the pro-rata unearned premium.



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        We shall in any event be entitled to           This duty applies separately to you
        retain any Minimum Retained                    and any additional insured.
        Premium stated in the Declarations.            To the extent        possible,   notice
   f.   If notice is mailed, proof of mailing          should include:
        will be sufficient proof of notice.            (1) How, when and where the
   g. Premium adjustment may be made                       "occurrence" or "offense" took
      either at the time cancellation is                   place;
      effected or as soon as practicable               (2) The names and addresses of
      after cancellation becomes effective,                any    injured persons and
      but payment or tender of unearned                    witnesses; and
      premium is not a condition of
      cancellation.                                    (3) The nature and location of any
                                                           injury or damage arising out of
4. Changes.                                                the "occurrence" or "offense".
   This policy contains all the agreements        b. If a "claim" is made or "suit" is
   between you and us concerning the                 brought against any insured, you
   insurance afforded. The "first named              must:
   insured" is authorized on behalf of all
   insureds to agree with us on all changes            (1) Immediately record the specifics
   in the terms of this policy.                            of the "claim" or "suit" and the
                                                           date received; and
   If the terms are changed, the changes
   will be shown in an endorsement issued              (2) Notify us in writing as soon as
   by us and made a part of this policy.                   practicable if the "claim" is likely
                                                           to exceed the amount of the
5. Duties In The Event Of Occurrence,                      "underlying insurance".
   Offense, Claim or Suit.
                                                  c.   You and any other involved insured
   a. You must see to it that we are                   must:
      notified as soon as practicable of an
      "occurrence" or an "offense" which               (1) Immediately send us copies of
      may result in a "claim" under this                   any        demands,       notices,
      policy. This requirement applies only                summonses or legal papers
      when such "occurrence" or "offense"                  received in connection with the
      is known to any of the following:                    "claim" or "suit" involving or
                                                           likely to involve a sum in excess
        (1) You or any additional insured                  of any "underlying insurance";
            that is an individual;
                                                       (2) Authorize us to obtain records
        (2) Any "executive officer" or                     and other information;
            insurance manager, if you or an
            additional   insured   are    a            (3) Cooperate with us in the
            corporation;                                   investigation or settlement of the
                                                           "claim" or defense against the
        (3) Any elected or appointed                       "suit";
            official, if you or an additional
            insured is a political subdivision         (4) Assist us, upon our request, in
            or public entity;                              the enforcement of any right
                                                           against      any    person    or
        (4) Any partner, if you or an                      organization which may be
            additional     insured   are     a             liable to the insured because of
            partnership;                                   injury or damage to which this
        (5) Any member, if an insured or an                policy or any "underlying
            additional insured is a joint                  insurance" applies;
            venture or limited liability               (5) Furnish us the following, as
            company; or                                    soon as practicable:
        (6) Any trustee, if you or           an
            additional insured is a trust.




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            (a) Complete information on all         Any inspections, surveys, reports or
                "claims" reserved for 50%           recommendations       relate  only   to
                or more of the amount of            insurability and the premiums to be
                the "underlying insurance";         charged. Such inspections are not
            (b) Complete information on all         safety inspections.        We do not
                "claims" (including multiple        undertake any duty to provide for the
                "claims") arising out of an         health or safety of any person. And we
                "occurrence" or "offense"           do not represent or warrant that
                which      might     require        conditions:
                payment in excess of                a. Are safe or healthful; or
                "underlying insurance"; and        b. Comply with laws,            regulations,
        (6) Maintain   adequate      "claim"          codes or standards.
            records and supporting data         8. Legal Action Against Us.
            which document reserves for
            payment of "claims", dates and          No person or organization has a right
            amounts of any settlements,             under this policy:
            including specific identification       a. To join us as a party or otherwise
            of "claim expenses" incurred               bring us into a "suit" asking for
            and paid.                                  damages from an insured; or
   d. No insureds will, except at that              b. To sue us on this policy unless all of
      insured’s own cost, make or agree                its terms and those of the
      to any settlement for a sum in                   "controlling underlying insurance
      excess of the total limits of                    policy" have been fully complied
      "underlying insurance" without our               with.
      consent.                                      A person or organization may sue us to
   e. No insureds will, except at that              recover on an agreed settlement or on a
      insured’s own cost, make a                    final judgment against an insured; but
      payment, assume any obligation, or            we will not be liable for damages that
      incur any expense, other than first           are not payable under the terms of this
      aid, without our consent.                     policy or that are in excess of the limit of
6. Examination Of Your Books And                    liability.
   Records.                                        An agreed settlement means a
   We may examine and audit your books             settlement and release of liability signed
   and records as they relate to this policy       by us, the insured and the claimant or
   at any time during the "policy period"          the claimant’s legal representative.
   and up to three years afterward.             9. Maintenance           of     Underlying
   We may do the same as to the books              Insurance.
   and records of any organization you              Policies affording in total at least the
   newly acquire or form that is deemed to          coverage and limits stated in the
   be a Named Insured under this policy.            Extension Schedule of Underlying
7. Inspections And Surveys.                         Insurance Policies shall be maintained
                                                    in full effect during the currency of this
   We have the right but are not obligated
                                                    policy. Your failure to comply with the
   to:
                                                    foregoing shall not invalidate this policy,
   a. Make inspections and surveys at               but in the event of such failure, we shall
      any time;                                     be liable only to the extent we would
   b. Give you reports on the conditions            have been liable had you complied with
      we find; and                                  this condition.
   c.   Recommend changes.




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    The limit of "underlying insurance" shall               Premium        and       Minimum
    not, for the purpose of determining when                Retained Premium set forth in
    this insurance applies, be reduced by                   the Declarations,
    the payment of expenses incurred in the              Whichever of (1) or (2) applies.
    defense of any insured, or the                  d. The "first named insured" must keep
    investigation or settlement of a "claim"           records of the information we need
    or "suit".                                         for premium computation, and send
    The "first named insured" shall give us            us copies at such time as we may
    written notice as soon as practicable of           request.
    any change in the coverage or in the             e. The Minimum Retained Premium
    limits of any "underlying insurance", and           stated in the Declarations shall be
    of the termination of any coverage or               considered as fully earned at the
    when the sum of all incurred losses                 inception of this policy.
    equals or exceeds 70% of the aggregate
    limits of the "underlying insurance".        12. Representations.
10. Other Insurance.                                By accepting this policy, you agree:
    This insurance is excess over any other         a. The statements in the Declarations
    insurance, whether primary, excess,                are accurate and complete;
    contingent or on any other basis, except        b. The statements in the Extension
    when purchased specifically to apply in            Schedule Of Underlying Insurance
    excess of this insurance.                          Policies are accurate and complete;
11. Premiums.                                       c.   The statements in a. and b. are
    a. We will compute all premiums for                  based upon representations you
       this policy, including any applicable             made to us;
       Audit Premium, Minimum Retained              d. We have issued this policy in
       Audit Premium and Minimum                       reliance upon your representations;
       Retained Premium in accordance                  and
       with our rules, rates and rating              e. If unintentionally you should fail to
       plans.                                           disclose all hazards at the inception
    b. The "first named insured":                       of this policy, we shall not deny
         (1) Is responsible for payment of all          coverage under this policy because
             premiums when due; and                     of such failure.
         (2) Will be the payee for any return    13. Transfer of Rights Of Recovery
             premiums we pay.                        Against Others To Us.
    c.   If the Deposit Premium set forth in        a. If the insured has rights to recover
         the Declarations is adjustable, such          all or a part of any payment we have
         Deposit Premium is an estimated               made under this policy, those rights
         premium for the Audit Period set              are transferred to us. The insured
         forth in the Declarations. At the end         must do nothing after loss to impair
         of such Audit Period, we will                 them. At our request, the insured
         compute any applicable Audit                  will bring "suit" or transfer those
         Premium.                                      rights to us and help us enforce
                                                       them.
         Then:
                                                    b. Recoveries      shall be applied     to
         (1) Audit Premium which is greater            reimburse:
             than the paid Deposit Premium
             is due and payable by the "first            (1) First, any interest (including the
             named insured" upon notice; or                  Named Insured) that paid any
                                                             amount in excess of our limit of
         (2) Paid Deposit Premium which is                   liability;
             greater than Audit Premium will
             be refunded to the "first named             (2) Second, us, along with any
             insured",   subject    to   any                 other insurers having a quota
             Minimum      Retained      Audit                share interest at the same level;



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         (3) Third, such interests (including       1. "Aircraft" includes but is not limited to
             the Named Insured) of whom                heavier-than-air       flying      vehicles,
             this insurance is excess.                 helicopters,     gliders,     missiles    or
         However, a different apportionment            spacecraft.
         may be made to effect settlement of        2. "Aircraft products" means "aircraft" and
         a "claim" by agreement signed by all          any     other   goods     or    products
         interests.                                    manufactured,      sold,   handled    or
    c. Reasonable expenses incurred in                 distributed or services provided or
       the exercise of rights or recovery              recommended by the insured or by
       shall be apportioned among all                  others trading under his or her name for
       interests in the ratio of their                 use in the manufacture, repair,
       respective losses for which recovery            operation, maintenance or use of any
       is sought.                                      "aircraft".
14. Transfer Of Your Rights And Duties                  "Aircraft products" includes:
    Under This Policy.                                  a. Warranties or representations made
    Your rights and duties under this policy               at any time with respect to the
    may not be transferred without our                     fitness,     quality,     durability,
    written consent except in the case of                  performance or use of "aircraft
    death of an individual Named Insured.                  products"; and
    If you die, your rights and duties will be          b. The providing of or failure to provide
    transferred to your legal representative               warnings or instructions.
    but only while acting within the scope of       3. "Auto" means:
    duties as your legal representative.
                                                        a. Any land motor vehicle, trailer or
    Until your legal representative is                     semitrailer designed for travel on
    appointed, anyone having proper                        public roads, including any attached
    temporary custody of your property will                machinery or equipment; or
    have your rights and duties but only with
                                                        b. Any other land vehicle that is
    respect to that property.
                                                           subject to a compulsory or financial
15. When We Do Not Renew.                                  responsibility law or other motor
    a. If we decide not to renew this policy,              vehicle insurance law where it is
       we will mail or deliver written notice              licensed or principally garaged.
       of non-renewal to the "first named                  However, the foregoing applies only
       insured" at least 60 days before the                to the extent that such land vehicle
       end of the "policy period".                         is defined as an “auto” under the
    b. If notice is mailed, we will mail it to             Automobile Liability “underlying
       the last mailing address known to us                insurance”.
       of the "first named insured". Proof of           However, "auto" does            not   include
       mailing will be sufficient notice.               "mobile equipment".
    c.   If we offer to renew this policy and       4. "Claim" means a demand received by
         the "first named insured" does not            any insured for damages alleging injury
         accept our offer during the current           or damage to persons or property
         "policy period", this policy will expire      including the institution of a "suit" for
         at the end of such "policy period".           such damages against any insured.
                                                    5. "Claim expenses" means all expenses:
SECTION V - DEFINITIONS
                                                        a. Incurred by us; or
All other words or phrases found in
                                                        b. Incurred by or on behalf of the
quotation marks in this policy which are not
                                                           insured with our written consent.
listed in this section or defined elsewhere in
the policy or an endorsement to this policy             But "claim expenses" include only those
shall have the same definitions that those              expenses incurred in the defense of any
words or phrases have in the "controlling               insured, or the investigation or
underlying insurance policy".



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EXCESS LIABILITY INSURANCE POLICY


    settlement of "claims" or "suits". "Claim"            (1) Sold, handled or distributed by
    fees paid to the insured’s "claim"                        the insured; or
    servicing       agency,        "underlying            (2) Manufactured, assembled or
    insurance", or other insurance are not                    processed by any other person
    "claim expenses".                                         or organization:
    Salaries of your and our "employees"                      (a) According to specifications,
    are excluded from this definition; but the                    plans, suggestions, orders
    costs and expenses of our staff defense                       or drawings of the insured;
    counsel and legal assistants are                              or
    included.
                                                              (b) With tools, machinery or
    "Claim expenses" are not damages.                             other equipment furnished
6. "Controlling underlying insurance policy"                      to    such    persons   or
   means the insurance policy listed in item                      organizations    by    the
   7. of the Declarations or set forth as                         insured;
   such in the Extension Schedule of                      Whether     such     "aircraft" so
   Underlying Insurance Policies.                         withdrawn are owned or operated by
7. "Coverage territory" is the geographic                 the same or different person or
   area in which the "controlling underlying              organizations.
   insurance policy" applies.                     13. "Hostile fire" means a fire which
8. "Employee" includes a "leased worker".             becomes uncontrollable or breaks out
   "Employee" does not include a                      from where it was intended to be.
   "temporary worker".                            14. "Insured contract" means the definition
9. “Employment related practices” means:              of insured contract contained in the
    a. Refusal to employ a person;                    "controlling underlying insurance policy".
    b. Termination    of        a     person’s    15. "Leased worker" means the definition of
       employment; or                                 leased worker contained in the
                                                      "controlling underlying insurance policy".
    c.   Employment-related         practices,
         policies, acts or omissions, such as     16. "Mobile equipment":
         coercion, demotion, evaluation,              a. Means the definition of mobile
         reassignment,              discipline,          equipment      contained    in the
         defamation, harassment, humiliation             "underlying insurance"; but
         or discrimination directed at a              b. Does not include any land vehicle
         person.                                         that is subject to a compulsory or
10. "Executive officer" means a person                   financial responsibility law or other
    holding any of the officer positions                 motor vehicle insurance law in the
    created by your charter, constitution, by-           state where it is licensed or
    laws or any other similar governing                  principally garaged. However, the
    document.                                            foregoing applies only to the extent
11. "First named insured" means the person               that such land vehicle is not defined
    or entity first named in Item 1. of the              as “mobile equipment” under the
    Declarations of this policy.                         General      Liability     “underlying
                                                         insurance”.
12. "Grounding" means:
                                                  17. "Occurrence" means an accident or
    a. The withdrawal of one or more                  occurrence as defined in and covered
       "aircraft" from flight operations; or          by the "controlling underlying insurance
    b. The imposition of speed, passenger             policy".
       or load restrictions on such "aircraft"    18. "Offense" means an offense described
       by reason of the existence of or               in the definition of "personal and
       alleged or suspected existence of              advertising injury" as defined in and
       any defect, fault or condition in such         covered by the "controlling underlying
       "aircraft" or any part thereof:                insurance policy".




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EXCESS LIABILITY INSURANCE POLICY


19. "Policy period" means the period                that portion of judgments or settlements
    beginning with the inception date shown         to which this policy applies, taking place
    in the Declarations and ending with the         during the "policy period" of this policy.
    earlier of:                                     The coverage and limits of such
    a. The date of cancellation of this             "underlying insurance" policies and any
       policy; or                                   such deductible amount, participation or
                                                    any amount retained by the insured
    b. The expiration date shown in the             shall be deemed applicable regardless
       Declarations.                                of (1) any defense which any underlying
20. "Pollutants" means any solid, liquid,           insurer may assert because of any
    gaseous     or   thermal     irritant or        insured’s failure to comply with any
    contaminant, including smoke, vapor,            condition in its policy or (2) the actual or
    soot, fumes, acids, alkalis, chemicals          alleged     insolvency       or    financial
    and waste. Waste includes materials to          impairment of any underlying insurer or
    be recycled, reconditioned or reclaimed.        any insured. The risk of insolvency or
21. "Products-completed operations hazard"          financial impairment of any underlying
    means       the    products-completed           insurer or any insured is borne by
    operations hazard as defined in and             insureds or others and not by us.
    covered by the "controlling underlying       SECTION VI - NUCLEAR ENERGY
    insurance policy".                           LIABILITY EXCLUSION (BROAD FORM)
22. "Suit" means a civil proceeding in which     1. This policy does not apply:
    damages because of injury or damage              a. To any injury or damage:
    to which this policy applies are alleged.
                                                         (1) With respect to which an
    "Suit" includes:                                         insured under the policy is also
    a. An arbitration proceeding in which                    an insured under a nuclear
       such damages are claimed and to                       energy liability policy issued by
       which the insured must submit or                      Nuclear       Energy       Liability
       does submit with our consent; or                      Insurance Association, Mutual
    b. Any other alternative dispute                         Atomic       Energy        Liability
       resolution proceeding in which such                   Underwriters, Nuclear Insurance
       damages are claimed and to which                      Association of Canada or any of
       the insured submits with our                          their successors, or would be an
       consent.                                              insured under any such policy
                                                             but for its termination upon
23. "Temporary worker" means a person
                                                             exhaustion of its limit of liability;
    who is furnished to you to substitute for
                                                             or
    a permanent "employee" on leave or to
    meet seasonal or short-term workload                 (2) Resulting from the "hazardous
    conditions.                                              properties" of "nuclear material"
                                                             and with respect to which (a)
24. "Underlying insurance" means the
                                                             any person or organization is
    insurance policies listed in the Extension
                                                             required to maintain financial
    Schedule of Underlying Insurance                         protection pursuant to the
    Policies, including any renewals or                      Atomic Energy Act of 1954, or
    replacements thereof, which provide the
                                                             any law amendatory thereof, or
    underlying coverages and limits stated
                                                             (b) the insured is, or had this
    in such Extension Schedule. A limit of
                                                             policy not been issued would
    "underlying insurance" includes any
                                                             be, entitled to indemnity from
    deductible amount, any participation of
                                                             the United States of America, or
    the insured, or any amount retained by
                                                             any agency thereof, under any
    the insured above or beneath any such
                                                             agreement entered into by the
    policy, less the amount, if any, by which
                                                             United States of America, or any
    the aggregate limit of such insurance
                                                             agency thereof, with any person
    has been reduced solely by payment of                    or organization.




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EXCESS LIABILITY INSURANCE POLICY


    b. To any injury or damage resulting              "Waste" means any waste material (a)
       from the "hazardous properties" of             containing "by-product material" other
       "nuclear material", if:                        than the tailings or wastes produced by
        (1) The "nuclear material" (a) is at          the extraction or concentration of
            any "nuclear facility" owned by,          uranium or thorium from any ore
            or operated by or on behalf of,           processed primarily for its "source
            an insured or (b) has been                material" content, and (b) resulting from
            discharged     or       dispersed         the operation by any person or
            therefrom;                                organization of any "nuclear facility"
                                                      included under the first two paragraphs
        (2) The "nuclear material" is                 of the definition of "nuclear facility".
            contained in "spent fuel" or
            "waste" at any time possessed,        "Nuclear facility" means:
            handled,    used,     processed,      (a) Any "nuclear reactor";
            stored, transported or disposed       (b) Any equipment or device designed or
            of by or on behalf of an insured;         used for (1) separating the isotopes of
            or                                        uranium or plutonium, (2) processing or
        (3) The injury or damage arises out           utilizing "spent fuel", or (3) handling,
            of the furnishing by an insured           processing or packaging "waste";
            of services, materials, parts or      (c) Any equipment or device used for the
            equipment in connection with              processing, fabricating or alloying of
            the      planning,    construction,       "special nuclear material" if at any time
            maintenance, operations or use            the total amount of such material in the
            of any "nuclear facility", but if         custody of the insured at the premises
            such facility is located within the       where such equipment or device is
            United States of America, its             located consists of or contains more
            territories or possessions or             than 25 grams of plutonium or uranium
            Canada, this exclusion (3)                233 or any combination thereof, or more
            applies only to injury or damage          than 250 grams of uranium 235;
            to such "nuclear facility" and any
            property thereat.                     (d) Any structure, basin, excavation,
                                                      premises or place prepared or used for
2. As used in this exclusion:                         the storage or disposal of "waste";
    "Hazardous       properties"      include     and includes the site on which any of the
    radioactive,    toxic    or     explosive     foregoing is located, all operations
    properties.                                   conducted on such site and all premises
    "Nuclear material" means "source              used for such operations.
    material", "special nuclear material" or      "Nuclear reactor" means any apparatus
    "by-product material".                        designed or used to sustain nuclear fission
    "Source material", "special nuclear           in a self-supporting chain reaction or to
    material", and "by-product material"          contain a critical mass of fissionable
    have the meanings given them in the           material.
    Atomic Energy Act of 1954 or in any law       Injury or damage includes all forms of
    amendatory thereof.                           radioactive contamination of property.
    "Spent fuel" means any fuel element or
    fuel component, solid or liquid, which
    has been used or exposed to radiation
    in a "nuclear reactor".




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Policy Number:                                        Effective Date:

Named Insured and Address:

Endt. No.




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                           ADDITIONAL NAMED INSURED
It is agreed that the following person(s) or organization(s) are added as Named Insureds under this policy.




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Named Insured and Address:



Endt. No.


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        EMPLOYEE BENEFITS LIABILITY ENDORSEMENT

                                             SCHEDULE I
                                       Coverage afforded by this endorsement
                        Coverage                                               Limits of Liability
            Employee Benefits Injury Liability                                                     Each "Offense" Limit
                                                                                                   Each "Claim" Limit
                                                                                                     Aggregate Limit;


                                                                                Included in the General Aggregate
                                                                                set forth in Item 5. of the
                                                                                Declarations, or
                                                                                Applies separately to Employee
                                                                                Benefits Injury Liability



                                                           SCHEDULE II
                                Coverage afforded by the "Controlling Underlying Insurance Policy"

              Insurer                                       Policy No.                      Policy Period


                        Coverage                                               Limits of Liability
               Employee Benefits Liability                                                         Each "Offense" Limit
                   Occurrence Basis                                                                Each "Claim" Limit
                                                                                                     Aggregate Limit
                   Claims-made Basis
                                                                                        Included within General

                   Retroactive Date:                                                     Aggregate

                  (If none, the retroactive date is                                      Applies separately to
                  inception of "policy period" set forth                                Employee Benefits Injury
                  in Item 2. of the Declarations of the                                 Liability
                  policy of which this endorsement
                  forms a part.)


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This policy is extended to apply to Employee Benefits            "Controlling underlying insurance policy" means
Liability, subject to the following additional provisions:       the policy of "underlying insurance" designated in
1. Except as otherwise provided by this                          SCHEDULE II providing coverage and limits for
    endorsement, the insurance afforded herein shall            Employee Benefits Liability.
    follow all the terms, definitions and exclusions of          "Employee Benefits Injury" means the definition of
    the "controlling underlying insurance policy" with           employee benefits injury set forth in the
    respect to "employee benefits injury," including             "controlling underlying insurance policy."
    whether such coverage is afforded on an                      "Employee Benefits Program" means the
    occurrence or claims made basis.                             definition of employee benefits program set forth
2. SECTION I - COVERAGE B                                        in the "controlling underlying insurance policy."
    We will pay those sums that the insured must                 "Offense" means, with respect to "employee
    legally pay as damages:                                      benefits injury," an act, error or omission
    1. Because of "employee benefits injury" to                  described in the "administration" of your
        which this endorsement applies, and                      "employee benefits program."          All "employee
                                                                 benefits injury" arising out of the same or similar
    2.That are in excess of the limits of liability of
                                                                 act, error or omission shall be considered as
      "controlling underlying insurance policy" as
                                                                 arising solely out of one "offense."
      set forth in SCHEDULE II.
                                                             5. ADDITIONAL CONDITION
3. SECTION III - LIMITS OF LIABILITY
                                                                 You warrant that you will maintain in force during
    A. The Limits of Liability set forth in                      the currency of this policy underlying limits for
       SCHEDULE I and the rules below fix the                    Employee Benefits Liability Coverage as stated in
       most we will pay regardless of the number of:             the SCHEDULE II of this endorsement. In the
       1. Insureds;                                              event of your failure to maintain such coverage
       2. "Claims" made or "suits" brought; or                   and limits or to meet all conditions required for
                                                                 payment of any "claim" under such coverage, the
         3. Persons      or organizations       making
                                                                 insurance afforded under the terms of this
             "claims" or bringing "suits."
                                                                 endorsement shall apply in the same manner it
    B. The Aggregate Limit set forth in SCHEDULE                 would have applied had such coverage and limits
       I is the most we will pay for all damages to              been so maintained in force.
       which this endorsement applies.                       6. EXTENDED REPORTING PERIODS
    C. Subject to B. above, the Each Offense Limit
                                                                 The following applies only if the coverage
       or the Each Claim Limit (whichever one
                                                                 afforded by this endorsement is on a claims-
       applies) set forth in SCHEDULE I is the most
                                                                 made basis.
       we will pay for all damages with respect
       to any one "offense" or "claim," respectively.            a. We will provide one or more Extended
                                                                     Reporting Periods, as described below, if:
    D.  Our obligation under this endorsement ends                   (1) This endorsement is cancelled or not
        when the applicable Limit of Liability is used                    renewed; or
       up. If we pay for any damages in excess of                    (2) We renew or replace this endorsement
        that Limit of Liability, you agree to reimburse                   with insurance that:
       us for such amounts.                                               (a) Has a Retroactive Date later than the
    E. The Limits of Liability shown in SCHEDULE I                             date shown in SCHEDULE II of this
        apply separately to each consecutive annual                            endorsement, or
       period and to any remaining period of less than                    (b) Does not apply to "employee benefits
       12 months, starting with the beginning of the
                                                                               injury" on a claim-made basis.
        "policy period" shown in SCHEDULE II, unless
        the endorsement is extended after issuance for           b. A Basic Extended Reporting Period is
        an additional period of less that 12 months. In              automatically provided without additional
        that case the additional period will be deemed               charge. This period starts with the end of the
       part of the last preceding period for the purpose             "policy period" and lasts for:
        of determining the Limits of Liability.                      1. One year for "claims" arising out of an
    4. ADDITIONAL DEFINITIONS                                             "employee benefits injury" reported to us,
                                                                          not later than 60 days after the end of the
         For purposes of this endorsement only, the
                                                                          "policy period," in accordance with
         following additional definitions apply:                          paragraph 2.a. of Conditions (Section IV);
         "Administration" means administration, as                        or
         defined in the "controlling underlying insurance
         policy," of your "employee benefits program."


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       (2) Sixty days for all other "claims."           d. Extended Reporting Periods do not extend
      The Basic Extended Reporting Period does             the "policy period" or change the scope of
      not apply to "claims" that are covered under         coverage provided.      They apply only to
      any subsequent insurance you purchase, or            "claims" for "employee benefits injury" that
      that would be covered but for exhaustion of          occur before the end of the "policy period"
      the amount of insurance applicable to such           (but not before the Retroactive Date, if any,
      "claims."                                            shown     in    SCHEDULE        II  of     this
                                                           endorsement).
   c. A Supplemental Extended Reporting Period
      of three years duration is available, but only       "Claims" for such injury which are first
      by an endorsement and for an extra charge.           received and recorded during the Basic
      This supplemental period starts:                     Extended Reporting Period (or during the
                                                           Supplemental Extended Reporting Period, if
      (1) One year after the end of the "policy            it is in effect) will be deemed to have been
           period" for "claims" arising out of an          made on the last day of the "policy period."
           "offense" reported to us, not later than
           60 days after the end of the "policy            Once in effect, Extended Reporting Periods
           period," in accordance with paragraph           may not be cancelled.
           2.a. of Conditions (Sections IV); or         e. Extended Reporting Periods do not reinstate
      (2) Sixty days after the end of the "policy          or increase the Limits of Liability applicable
           period" for all other "claims."                 to any "claim" to which this endorsement
                                                           applies, except to the extent described in
      You must give us a written request for the
                                                           paragraph f. of this section 6.
      endorsement within 60 days after the end of
      the "policy period."        The Supplemental      f. If the Supplemental Extended Reporting
      Extended Reporting Period will not go into           Period is in effect, we will provide the
      effect unless you pay the additional premium         separate aggregate limit of liability described
      promptly when due. We will determine the             below, but only for "claims" first received and
      additional premium in accordance with our            recorded during the Supplemental Extended
      rules and rates. In doing so, we may take            Reporting Period.
      into account the following:                          The separate aggregate limit of liability will
      (1) The exposures insured;                           be equal to the dollar amount shown in
                                                           SCHEDULE I in effect at the end of the
       (2) Previous   types     and    amounts   of
                                                           "policy period" of this endorsement.
           insurance;
                                                        Paragraph B. of SECTION III - LIMITS OF
       (3) Limits of Liability available under this     LIABILITY will be amended accordingly.
           endorsement for future payment of
           damages; and
       (4) Other related factors.
      The additional premium will not exceed
      200% of the annual premium for this
      endorsement.
      This endorsement shall set forth the terms,
      not inconsistent with this Section 6.,
      applicable to the Supplemental Extended
      Reporting Period, including a provision to the
      effect that the insurance afforded for "claims"
      first received during such period is excess
      over any other insurance available
      under     policies    in  force    after    the
      Supplemental Extended Reporting Period
      starts.




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  CONFIRMATION OF COVERAGE ELECTION - POLICYHOLDERS OF
    UMBRELLA OR EXCESS LIABILITY INSURANCE POLICIES -
              TERRORISM RISK INSURANCE ACT

We have previously notified you that in accordance with the federal Terrorism Risk Insurance Act, as
amended (TRIA), we must make terrorism coverage available in the policies we offer.

A "certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in accordance
with the provisions of TRIA, to be an act of terrorism under TRIA. The criteria contained in TRIA for a
"certified act of terrorism" include the following :

1. The act results in insured losses in excess of $5 million in the aggregate, attributable to all types of
   insurance subject to TRIA; and
2. The act results in damage within the United States, or outside the United States in the case of certain
   air carriers or vessels or the premises of an United States mission ; and
3. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is
   committed by an individual or individuals as part of an effort to coerce the civilian population of the
   United States or to influence the policy or affect the conduct of the United States Government by
   coercion .

The United States Department of the Treasury will reimburse insurers for a portion of such insured losses
as indicated in the table below that exceeds the applicable insurer deductible:

     Calendar Year        Federal Share of
                          Terrorism Losses
         2015                    85%
         2016                    84%
         2017                    83%
         2018                    82%
         2019                    81%
      2020 or later              80%

However, if aggregate insured losses attributable to "certified acts of terrorism" under TRIA exceed $100
billion in a calendar year, the Treasury shall not make any payment for any portion of the amount of such
losses that exceeds $100 billion . The United States Government has not charged any premium for their
participation in covering terrorism losses.

If aggregate insured losses attributable to "certified acts of terrorism" under TRIA exceed $100 billion in a
calendar year and we have met, or will meet, our insurer deductible under TRIA we shall not be liable for
the payment of any portion of the amount of such losses that exceeds $100 billion . In such case , your
coverage for terrorism losses may be reduced on a pro-rata basis in accordance with procedures
established by the Treasury, based on its estimates of aggregate industry losses and our estimate that
we will exceed our insurer deductible. In accordance with Treasury procedures, amounts paid for losses
may be subject to further adjustments based on differences between actual losses and estimates.

Our prior notice advised you that the premium for such terrorism coverage would be •        of the total
premium for your Umbrella or Excess Liability Insurance Policy unless an alternative amount is indicated
below.



$-
PREMIUM:


Insurance Policy
                      Additional premium for Terrorism coverage under this Umbrella or Excess Liability



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As a result of our notification, you have made the following election:

Accepted Terrorism Coverage:        0
Rejected Terrorism Coverage:        D
This premium charge assumes that you have also purchased underlying insurance coverage for certified
acts of terrorism. We may, in accordance with the terms of the policy, examine your books and records to
verify that your underlying insurance policy provides this coverage at the limits as shown in the Extension
Schedule of Underlying Insurance Policies. If such coverage does not exist at the represented limits we
will:
    o   In accordance with the Maintenance of Underlying Insurance Condition in your Umbrella or
        Excess Liability Insurance Policy, be liable for certified acts of terrorism only to the extent that we
        would have been liable had you complied with this condition.
    o   Endorse your policy to provide a self-insured retention in the amount of the required underlying
        insurance which will apply to coverage for such certified acts of terrorism.
    o   Increase the premium quoted for certified acts of terrorism by an amount not to exceed 25% of
        the total Umbrella or Excess Liability Insurance Policy premium.

If you fail to purchase or maintain underlying insurance with coverage for certified terrorist acts, we will
adjust your premium and add the necessary endorsements. These changes will be effective as of
inception or the date when you ceased to have the represented underlying insurance, whichever is later.

        TERRORISM EXCLUSION ON YOUR BINDER AND/OR POLICY AND ITS RENEWALS

If the "Rejected Terrorism Coverage" box above is checked , you have previously rejected such coverage
by signing a written rejection statement and returning such document to us.

By doing so you have also authorized the attachment of a terrorism exclusion to you r Umbrella or Excess
Liability Insurance binder and/or policy and to all subsequent renewals. Unless you contact your agent,
broker or representative and accept coverage prior to the inception of your renewal po licy, the terrorism
exclusion(s) will apply to all subsequent renewals .




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Policy Number: 52 xs ON1063                                Effective Date: 06/30/2017

Named Insured and Address: DUSTEX HOLDINGS' LLC
                           60 CHASTAIN CENTER BLVD NW
                           SUITE 60
Endt. No.                  KENNESAW , GA 30144
                      5


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



             CAP ON LOSSES FROM CERTIFIED ACTS OF
                         TERRORISM

A. Disclosure Of Federal Share Of Terrorism                       2. The act results in damage within the United
   Losses                                                             States, or outside the United States in the
   The United States Department of the Treasury                       case of certain air carriers or vessels or the
   will reimburse insurers for a portion of such                      premises of a United States mission ; and
   insured losses as indicated in the table below                 3. The act is a violent act or an act that is
   that exceeds the applicable insurer deductible:                    dangerous to human life, property or
         Calendar Year          Federal Share of                      infrastructure and is committed by an
                                Terrorism Losses                      individual or individuals as part of an effort to
                                                                      coerce the civilian population of the United
               2015                     85%                           States or to influence the policy or affect the
               2016                     84%                           conduct of the United States Government by
               2017                     83%                           coercion .
                                                                  If aggregate insured losses attributable to
               2018                     82%
                                                                  "certified acts of terrorism" under TRIA exceed
               2019                     81%                       $100 billion in a calendar year and we have met,
          2020 or later                 80%                       or will meet, our insurer deductible under TRIA
                                                                  we shall not be liable for the payment of any
   However,      if   aggregate      insured    losses            portion of the amount of such losses that
   attributable to "certified acts of terrorism" under            exceeds $100 billion. In such case , your
   the federal Terrorism Risk Insurance Act, as                   coverage for terrorism losses may be reduced
   amended (TRIA) exceed $100 billion in a                        on a pro-rata basis in accordance with
   calendar year, the Treasury shall not make any                 procedures established by the Treasury, based
   payment for any portion of the amount of such                  on its estimates of aggregate industry losses
   losses that exceeds $100 billion. The United                   and our estimate that we will exceed our insurer
   States Government has not charged any                          deductible. In accordance with Treasury
   premium for their participation in covering                    procedures, amounts paid for losses may be
   terrorism losses.                                              subject to further adjustments based on
B. Cap On Insurer Liability For Terrorism                         differences     between      actual losses and
   Losses                                                         estimates.
   A "certified act of terrorism" means an act that is         C. Application of Other Exclusions
   certified by the Secretary of the Treasury, in                 The terms and limitations of any terrorism
   accordance with the provisions of the federal                  exclusion , the inapplicability or omission of a
   Terrorism Risk Insurance Act, to be an act of                  terrorism exclusion, or the inclusion of Terrorism
   terrorism under TRIA. The criteria contained in                coverage, do not serve to create coverage for
   TRIA for a "certified act of terrorism" include the            any loss which would otherwise be excluded
   following :                                                    under this Coverage Part or Policy, such as
   1. The act results in insured losses in excess of              losses excluded by the Nuclear Hazard
       $5 million in the aggregate, attributable to all           Exclusion, Pollution        Exclusion,    or War
       types of insurance subject to TRIA; and                    Exclusion.



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                                                                                                     Exhibit 7
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POLICY NUMBER:




     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


      RECORDING AND DISTRIBUTION OF MATERIAL OR
      INFORMATION IN VIOLATION OF LAW EXCLUSION



The Distribution Of Material In Violation Of Statutes exclusion under Paragraph 2., Exclusions of Section I –
Coverages is replaced by the following:
2. Exclusions
   This policy does not apply to:
   Recording And Distribution Of Material Or Information In Violation Of Law
   Any injury, damage, loss, cost or expense, including but not limited to "bodily injury", "property damage" or
   "personal and advertising injury" arising directly or indirectly out of any action or omission that violates or is
   alleged to violate:
   a. The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
   b. The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
   c. The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
      and Accurate Credit Transaction Act (FACTA); or
   d. Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
      or FCRA and their amendments and additions, that addresses, prohibits, or limits the printing,
      dissemination, disposal, collecting, recording, sending, transmitting, communicating or distribution of
      material or information.




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                                                                          THEX
                                                                        HARTFORD




                         PRODUCER COMPENSATION NOTICE



You can review and obtain infonnation on The Hartford's producer compensation practices at
www.TheHartford.com or at 1-800-592-5717.




Form G-3418-0



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 U.S. DEPARTMENT OF THE TREASURY, OFFICE OF FOREIGN ASSETS
     CONTROL ("OFAC") ADVISORY NOTICE TO POLICYHOLDERS

No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the
coverages you are provided.

This Notice provides information concerning possible impact on your insurance coverage due to directives
issued by the United States. Please read this Notice carefully.

The Office of Foreign Assets Control ("OFAC") of the U.S. Department of the Treasury administers and
enforces economic and trade sanctions based on U.S. foreign policy and national security goals against
targeted foreign countries and regimes, terrorists, international narcotics traffickers, those engaged in activities
related to the proliferation of weapons of mass destruction, and other threats to the national security, foreign
policy or economy of the United States. OFAC acts under Presidential national emergency powers, as well as
authority granted by specific legislation, to impose controls on transactions and freeze assets under U.S.
jurisdiction. OFAC publishes a list of individuals and companies owned or controlled by, or acting for or on
behalf of, targeted countries. It also lists individuals, groups, and entities, such as terrorists and narcotics
traffickers designated under programs that are not country-specific. Collectively, such individuals and
companies are called "Specially Designated Nationals and Blocked Persons" or "SDNs". Their assets are
blocked and U.S. persons are generally prohibited from dealing with them. This list can be located on OFAC’s
web site at – http//www.treas.gov/ofac.

In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is an SDN, as identified by OFAC, the
policy is a blocked contract and all dealings with it must involve OFAC. When an insurance policy is
considered to be such a blocked or frozen contract, no payments nor premium refunds may be made without
authorization from OFAC.




Form IH 99 40 04 09                                                                                 Page 1 of 1

                                                                                                 Exhibit 7
                                                                                             Page 38 of 46
Named Insured:

Policy Number:

Effective Date:                                         Expiration Date:

Company Name:



            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              TRADE OR ECONOMIC SANCTIONS ENDO RSEMENT


This insurance does not apply to the extent that trade or economic sanctions or other laws or regulations
prohibit us from providing insurance, including, but not limited to, the payment of claims.


All other terms and conditions remain unchanged.




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                                                                                         Exhibit 7
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We have caused this policy to be signed by our President and Secretary. Where required by law, the Declarations
page has been countersigned by our duly authorized representative.




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                                                                                             Exhibit 7
                                                                                         Page 40 of 46
Policy Number:                                             Effective Date:

Named Insured and Address:



Endt. No.



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                     GEORGIA CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL EXCESS LIABILITY COVERAGE PART

A. Paragraph a. (1) of the CANCELLATION Policy                        (1) If this policy is cancelled, we will send the
   Condition is replaced by the following:                                "first named insured" any premium refund
   (1) The "first named insured" shown in the                             due.
       Declarations may cancel this policy by mailing                 (2) If we cancel, the refund will be pro rata,
       or delivering to us advance written notice of                      except as provided in (3) below.
       cancellation, subject to the following:                        (3) If the cancellation results from failure of
       (a) If only the interest of the "first named                       the "first named insured" to pay, when
           insured" is affected, the effective date of                    due, any premium to us or any amount,
           cancellation will be either the date we                        when due, under a premium finance
           receive notice from the "first named insured"                  agreement, then the refund may be less
           or the date specified in the notice whichever                  than pro rata. Calculation of the return
           is later. However, upon receiving a written                    premium at less than pro rata represents
           notice of cancellation from the "first named                   a penalty charged on unearned premium.
           insured," we may waive the requirement                     (4) If the "first named insured" cancels, the
           that the notice state the future date of                       refund may be less than pro rata.
           cancellation, by confirming the date and
           time of cancellation in writing to the "first              (5) The cancellation will be effective even if
           named insured."                                                we have not made or offered a refund.
       (b) If by statute, regulation or contract this        C. The following is added to the CANCELLATION
           policy may not be canceled unless notice             Policy Condition and supersedes any other
           is given to a governmental agency,                   provisions to the contrary:
           mortgagee or other third party, we will               If we decide to:
           mail or deliver at least 10 days notice to            1.   Cancel or nonrenew this policy; or
           the "first named insured" and the third
                                                                 2. Increase current policy premium by more than
           party as soon as practicable after
                                                                    15% (other than any increase due to change
           receiving the "first named insured’s"
                                                                    in risk, exposure or experience modification or
           request for cancellation.
                                                                    resulting from an audit of auditable
       Our notice will state the effective date of                  coverages); or
       cancellation, which will be the later of the
                                                                 3. Change any policy provision which would limit
       following:
                                                                    or restrict coverage;
       (i) 10 days from the date of mailing or
                                                                 Then:
           delivering our notice, or
                                                                 We will mail or deliver notice of our action
       (ii) The effective date of cancellation stated in
            the "first named insured’s" notice to us.            (including the dollar amount of any increase in
                                                                 renewal premium of more than 15%) to the "first
B. Paragraph e. of the CANCELLATION Policy                       named insured" and lienholder, if any, at the last
   Condition is replaced by the following:                       mailing address known to us. We will mail or
   e. Premium Refund                                             deliver notice at least:


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    1. 10 days before the effective date of                If you fail to submit to or allow an audit for the
       cancellation if this policy has been in effect      current or most recently expired term, we may
       less than 60 days or if we cancel for a reason      cancel this policy subject to the following:
       other than nonpayment of premium; or                1. We will make two documented efforts to send
    2. 45 days before the effective date of                   you and your agent notification of potential
       cancellation if this policy has been in effect 60      cancellation. After the second notice has been
       or more days and we cancel for a reason                sent, we have the right to cancel this policy by
       other than nonpayment of premium; or                   mailing or delivering a written notice of
    3. 45 days before the expiration date of this             cancellation to the first Named Insured at
       policy if we decide to nonrenew, increase the          least 10 days before the effective date of
       premium or limit or restrict coverage.                 cancellation, but not within 20 days of the first
                                                              documented effort.
D. With respect to a policy that is written to permit an
   audit, the following is added to the                    2. If we cancel this policy based on your failure
   CANCELLATION Policy Condition:                             to submit to or allow an audit, we will send the
                                                              written notice of cancellation to the first
                                                              Named Insured at the last known mailing
                                                              address by certified mail or statutory overnight
                                                              delivery with return receipt requested.




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Policy Number:                                             Effective Date:

Named Insured and Address:




Endt. No.



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        EXCLUSION - ACCESS OR DISCLOSURE OF
      CONFIDENTIAL OR PERSONAL INFORMATION AND
             DATA-RELATED LIABILITY - WITH
           LIMITED BODILY INJURY EXCEPTION
Exclusion 2.m. of Section I – Coverages is replaced                  This exclusion applies even if damages are
by the following:                                                    claimed for notification costs, credit monitoring
2. Exclusions                                                        expenses, forensic expenses, public relations
                                                                     expenses or any other loss, cost or expense
   This policy does not apply to:                                    incurred by you or others arising out of that
   m. Access Or Disclosure Of Confidential Or                        which is described in Paragraph (1) or (2)
      Personal Information And Data-related                          above.
      Liability                                                      However, unless Paragraph (1) above applies,
       Damages arising out of:                                       this exclusion does not apply to damages
       (1) Any access to or disclosure of any                        because of "bodily injury".
           person's or organization's confidential or                As used in this exclusion, electronic data
           personal information, including patents,                  means information, facts or programs stored
           trade secrets, processing methods,                        as or on, created or used on, or transmitted to
           customer lists, financial information, credit             or from computer software, including systems
           card information, health information or any               and applications software, hard or floppy
           other type of nonpublic information; or                   disks, CD-ROMs, tapes, drives, cells, data
                                                                     processing devices or any other media which
       (2) The loss of, loss of use of, damage to,
                                                                     are used with electronically controlled
           corruption of, inability to access, or
                                                                     equipment.
           inability to manipulate electronic data.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         PUBLIC OR LIVERY PASSENGER CONVEYANCE
                        EXCLUSION


A. The following exclusion is added:                          B. Additional Definitions
   This insurance does not apply to:                              As used in this endorsement:
   Public Or Livery Passenger Conveyance                          1. "Occupying" means in, upon, getting in, on,
   "Bodily injury" or "property damage" arising out                   out or off.
   of any "auto" while being used as a public or                  2. "Transportation network platform" means an
   livery conveyance for passengers.              This               online-enables application or digital network
   includes, but it not limited to, any period of time               used to connect passengers with drivers
   an "auto" is being used by an insured who is                      using vehicles for the purpose of providing
   logged into a "transportation network platform"                   prearranged transportation services for
   as a driver, whether or not a passenger is                        compensation .
   "occupying" the "auto".




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                      POLICY CHANGE ENDORSEMENT
                          This endorsement modifies insurance provided under the




                                                            ENDORSEMENT NUMBER


POLICY NUMBER                   COMPANY                                 POLICY CHANGES, EFFECTIVE (DATE)




NAMED INSURED AND ADDRESS




FORM NUMBERS OF ENDORSEMENTS MADE A PART OF THE POLICY                                  PREMIUM
AS OF THE DATE SHOWN ABOVE

                                                                                        ADDITIONAL
                                                                                        RETURN


                                                CHANGES




                                                                        ______________________________

                                                                         Authorized Representative Signature


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                      POLICY CHANGE ENDORSEMENT
                          This endorsement modifies insurance provided under the




                                                            ENDORSEMENT NUMBER


POLICY NUMBER                   COMPANY                                 POLICY CHANGES, EFFECTIVE (DATE)




NAMED INSURED AND ADDRESS




FORM NUMBERS OF ENDORSEMENTS MADE A PART OF THE POLICY                                  PREMIUM
AS OF THE DATE SHOWN ABOVE

                                                                                        ADDITIONAL
                                                                                        RETURN


                                                CHANGES




                                                                        ______________________________

                                                                         Authorized Representative Signature


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